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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA


                v.                                       Criminal No. 05-0018 (JDB)
 ROBERT E. QUINN,
 MICHAEL H. HOLLAND,
 MOHAMMED A. SHARBAF

        Defendants.



                                            ORDER

       Upon consideration of parties' motions and memoranda, the arguments presented to the

Court at the motions hearing on October 14, 2005, and the entire record herein, and for the

reasons stated in the Memorandum Opinion issued on this date, it is this 21st day of October,

2005, hereby

       ORDERED that [35] defendants' motion for transfer of venue is DENIED; it is further

       ORDERED that [69] the government's motion to strike portions of the indictment is

GRANTED; it is further

       ORDERED that [38] defendants' motion to dismiss the indictment for failure to charge a

cognizable offense is GRANTED in part and DENIED in part; it is further

       ORDERED that [31 & 34] defendants' motions to strike from the indictment alleged

surplusage are GRANTED in part and DENIED in part; it is further

       ORDERED that [37] defendants' as-applied due process challenge to the laws underlying



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the offenses alleged is DENIED; it is further

       ORDERED that [36] defendants' motion to dismiss Counts Two through Six for failure

to state an offense is DENIED; it is further

       ORDERED that [32] defendants' motion to dismiss the indictment as duplicitous is

DENIED; and it is further

       ORDERED that [29] defendants' motion for a supplemental jury questionnaire is

DENIED.


                                                     /s/ John D. Bates
                                                    JOHN D. BATES
                                                United States District Judge




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